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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                               :   CHAPTER 11

SCUNGIO BORST & ASSOCIATES, LLC                      :   BANKRUPTCY NO. 22-10609(AMC)

                                 Debtor          :


                                   CERTIFICATE OF SERVICE

         I, Aris J. Karalis, Esquire, hereby certify that on the 5*** day of April, 2022 I directed to be

served a copy of the Application of Debtor for the Entry of an Order Authorizing the Retention

and Employment of Bochetto & Lentz, P.C. as Special Litigation Counsel Pursuant to 11 U.S.C.

§§ 327(e) and 328(a), Fed. R. Bankr. P. 2014 and Local Bankruptcy Rule 2014-1 and Notice of

Application and Response Deadline upon the parties on the attached list in the manner indicated

thereon.


                                                 KARALIS PC


                                                 By:     Zs/ Aris J. Karalis_________________
                                                         ARIS J. KARALIS

                                                         Attorneys for the Debtor
Dated: April 5, 2022
                   Case 22-10609-amc Doc 44-6 Filed 04/05/22 Entered 04/05/22 17:02:55                                 Desc
                                  Certificate of Service of Application Page 2 of 2
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